Case 0:14-cv-61376-BB Document 53-1 Entered on FLSD Docket 02/27/2015 Page 1 of 21




                                  UNITED STATE DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 0:14-cv-61376-BB

 PROFESSIONAL LED LIGHTING, LTD.,

                  Plaintiff,

 vs.

 AADYN TECHNOLOGY, LLC,
 FRANK GALLAGHER, MARC KAYE,
 and WALTER LEFLER,

           Defendants.
 ______________________________.!

 AADYN TECHNOLOGY, LLC, a Delaware
 Limited Liability Company; FRANK
 GALLAGHER, a New Jersey citizen; MARC
 KAYE, a Florida citizen; and WALTER
 LEFLER, a New Jersey citizen,

                  Plaintiffs,

 vs.

 PROFESSIONAL LED LIGHTING, LTD., an
 Illinois company; PRODUCT
 PRODUCTIONS, INC., an Illinois company;
 and PHILIP CONTURSI, an Illinois citizen,


                  Defendants.
 --------------------------------~1
                                AFFIDAVIT OF DARTH M. NEWMAN

        I, DARTH M. NEWMAN, being duly sworn according to law, depose and hereby state

 the following:

        1.        I am an attorney at law and am licensed to practice in the State ofNew Jersey and

 the Commonwealth of Pennsylvania. I am an associate at the law firm of Archer & Greiner,


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 P.C., counsel for Plaintiffs Aadyn Technology, LLC, Frank Gallagher, Marc Kaye, and Walter

 Lefler.

           2.   I have been licensed to practice law in the State of New Jersey and the

 Commonwealth of Pennsylvania since 2008. I also am admitted to practice law in the United

 States Court of Appeals, Sixth Circuit, and the United States District Court, Eastern District of

 Pennsylvania and District ofNew Jersey and have been admitted to practice Pro Hac Vice in the

 United States District Court, Southern District of Florida, Northern District of Ohio and Southern

 District ofNew York.

           3.   I received my B.A. degree in 2004 from the University of Michigan, with

 distinction, and my J.D. in 2008 from the University of Pennsylvania Law School.

           4.   As lead litigation counsel in the above-captioned matter, I am responsible for all

 of the work ultimately performed in the case and for overseeing the work of associate attorney

 Kate A. Sozio, who also worked on this matter.

           5.   Ms. Sozio received her B.S. degree in 2006 from Drexel University, magna cum

  laude and her JD in 2012 from Drexel University School of Law, cum laude.

           6.   Ms. Sozio has been licensed to practice law in the State of New Jersey and the

  Commonwealth of Pennsylvania since 2012 and is admitted to practice law in the United States

 District Court for the Eastern District of Pennsylvania and the District ofNew Jersey.

           7.   Attached hereto are bills showing the fees and costs in this matter which have

  been redacted to show only those time and cost entries related to the preparation and filing of

  Plaintiffs' Motion to Dismiss Professional LED Lighting LTD.'s ("LED") allegations of

  copyright infringement and this notice of fees.     The bills were also redacted to remove the


                                                  2

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 substance of attorney-client communications.           My time is designated by reference to the

 timekeeper "DMN" notation and Ms. Sozio's time is designated by reference to the timekeeper

 "KS" notation.

         8.       My normal and customary hourly rate is $295.00 per hour, Ms. Sozio's is $220.00

 per hour. These are the rates we have billed Plaintiffs for our work on this matter.

         9.       I have carefully reviewed all of the billing records in the above-captioned matter

 for attorney time. In my professional opinion as an experienced attorney in this field, all of the

 work performed by me and Ms. Sozio was necessary and reasonable in the litigation of this

 motion.

           10.    Time records were kept in this matter meticulously by each attorney, who, upon

 rendition of a particular service, entered his or her time directly into the computer billing

 program. The program keeps track of this information and generates monthly reports, which are

 then transformed into billing statements. The information on the billing statements is double

 checked by the billing attorney prior to being sent to the client as the final billing statement.

           11.    The total of $19,705 in fees shown in the attached redacted bills were reasonably

 incurred in the preparation of Plaintiffs' Motion to Dismiss.

           12.    An additional $737.50 in fees shown in the attached redacted bills were

 reasonably incurred in the preparation of this Notice of Fees.

           13.    Archer & Greiner, P.C. recently changed its time entry and accounting software

 and the new software has a two day processing lag time. In other words, time entered today and

 yesterday cannot be printed to a bill until the software processes those entries over the weekend.




                                                    3

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        14.     Ms. Sozio worked an additional 3.6 hours ($792.00) and I worked an additional

 5.8 hours ($1,711.00) preparing this affidavit and the associated Notice of Fees in the past two

 days but these time entries, while entered into our computer system, do not appear on the

 attached redacted bills. We will submit supplemental redacted bills to the Court early next week

 after these time entries are processed by our new accounting software over the weekend.

        15.     I have exercised billing judgment by redacting and not including in the attached

 bills time which was spent preparing portions of Plaintiffs' Motion to Dismiss which were not

 related to LED's allegations of copyright infringement. However, some portions of the briefing

 related to both LED's copyright allegations and other of their allegations and these components

 of our work were inextricably intertwined. These inextricably intertwined time entries appear in

 full on the attached time records.

         16.    It is worth noting, however, that while Plaintiffs were called upon to address

 several issues in their Motion to Dismiss briefs, the portion of the briefing that was most

 complicated and time consuming to prepare was addressed to LED's improper allegations of

 copyright infringement.

         17.    In addition, Richard J. Contant is a shareholder at Archer & Greiner, P.C. and

 ultimately responsible for the representation of Plaintiffs Aadyn Technology, LLC, Frank

 Gallagher, Marc Kaye, and Walter Lefler.

        18.     Mr. Contant billed Plaintiffs for several hours of time at his usual and customary

 rate of$450 per hour for work supervising the preparation of Plaintiffs' Motion to Dismiss.




                                                 4

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            19.       However, because Mr. Contant performed a supervisory role and not a lead

 litigator role with respect to the Motion to Dismiss, all of his time has been redacted and none of

 it is included in the present notice of fees.

           20.        Additionally, one half hour of time billed by Ms. Sozio on February 2, 2015 was

 not related to the copyright portion of Plaintiffs' Motion to Dismiss and while it appears on the

 attached bills, this half hour was not included in the amount oftotal·fees Plaintiffs seek.

            21.       Finally, costs and expenses in the amount of$194.40 were reasonably incurred in

 relation to Plaintiffs' Motion to Dismiss and costs of $124.24 were reasonably incurred in

 relation to this Notice of Fees, as reflected by the attached redacted bills.

            Further Affiant Sayeth Naught.



 Sworn and subscribed to
 before me on this 27th day

 of~£~
 Nolary·Public ,
  l·72r4s92vl     .



             IRENA E. RISS
       Notary Public of New Jersey
  My Commisston Expires February 24, 2020




                                                      5

                                     COMPOSITE EXHIBIT "A"
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                                                                                                        ARCHER & GREINER
                                                                                           A PROFESSIONAL CORPORATION
                                                                                              COUNSELLORS AT LAW
                                                                                            ONE CENTENNIAL SQUARE
                                                                                       HADDONFIELD, NEW JERSEY 08033-0968
                                                                                                 (856-795-2121)


  AADYN TECHNOLOGY                                                                                                                                                                                        Invoice Number:                                                 1619428
  ATTN: FRANK GALLAGHER                                                                                                                                                                                   Invoice Date:                                                   01/15/15
  80 RT. 4 EAST, STE. 120
  PARAMUS, NJ 07652                                                                                                                                                                                       Matter Number: GAL 146.00801



  GALLAGHER, FRANK                                                                                                                                                                                                                                                                R. J. Contant
  • - - ... - - - - - · - - - ..... - - - - - - - - - - - .. - - - · .. - - - - - · - - ..... - ........ - - - - - - ....... - - - - - - - - - - - - - - - · - - - - ................ - - - - - - - - - - - - - ... --- .. - - - ... - - · - - - - - - ... -- ..... •;t,·-- - - - - - - - - - - - - - - - ..... -----
                                                                                                                                                                                                                                                               dj



   Re:                DISPUTE WITH PHIL CONTURSI, PRODUCT PRODUCTIONS INC. & PROFESSIONAL LED
                      LIGHTING GO.

   FOR PROFESSIONAL SERVICES RENDERED THROUGH 01/15/2015:

               Date                                    Tkpr                                                                                                                                                                                      Hours                                        Value




         12/16/14                                      DMN                       Assign research to K. Sozio and outline motion with                                                                                                                          0.80                                   236.00
                                                                                 her; begin converting IL motion to FL motion; email
                                                                                 with FL counsel re: same; ca!J with RJ Contant re: all


 ARCHER & GREINER P.C.                                                                                                                      TIN #XX-XXXXXXX                                                                                                                     www.archerlaw.com

                                                                                       COMPOSITE EXHIBIT "A"
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   GAL 146.00801         GALLAGHER, FRANK                                                Invoice Number:    1619428
   01/15/15                                                                                                  Page2

       Date              Tkpr                                                             Hours            Value
     12/16/14            KS     Conferred with Darth Newman regarding procedural               4.70         1,034.00
                                history of case and research assignment related to
                                Florida motion to dismiss; researched Florida law on
                                motion to dismiss standard and copyright standing
                                requirements.




     12/17/14            KS     Researched FL law regarding copyright standing and             1.80           396.00
                                motion to dismiss standard.
     12/18/14            DMN    Confer with K. Sozio re: research and motion and email         1.00           295.00
                                with FL counsel re: judgment; call with IL counsel re:
                                enforcing judgment and follow up email with FL
                                counsel according
     12/18/14            KS     Researched Florida law regarding copyright standing,           7.90         1,738.00
                                intracorporate conspiracy doctrine, and gist of the
                                action doctrine; revised brief in support of motion to
                                dismiss; conferred with Darth Newman regarding brief.



     12/19/14            DMN    Confer with K. Sozio re: motion to dismiss and                 2.90           855.50
                                re§earch for same; research fraud ple.adinqs in FL




     12/21/14            DMN    Review/revise FL motion to dismiss                             2.10            619.50
     12/22/14            DMN    Review/revise FL motion papers and emails with FL              3.20            944.00
                                counsel re: same andre: Final Default and email with
                                IL local counsel re: Final Default.


 ARCHER & GREINER P.C.                               TIN #22~2092948                                  www.archerlaw.com

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  GAL 146.00801          GALLAGHER, FRANK                                           Invoice Number:   1619428
  01/15/15                                                                                              Page3

       Date              Tkpr                                                        Hours            Value
     12/23/14            DMN    Research/revise motion to FL dismiss and                  3.60        1,062.00
                                communicate with FL counsel re: same




   FOR COSTS ADVANCED AND EXPENSES INCURRED
                    LEXIS- LEXIS NEXIS: 12/16/14 KAS                                                       19.93
                    LEXIS- LEXIS NEXIS: 12/17/14 KAS                                                        3.62
                    LEXIS- LEXIS NEXIS: 12/18/14 KAS                                                       36.10
                    LEXIS- LEXIS NEXIS: 12/19/14 KAS                                                       16.33
                    LEXIS- LEXIS NEXIS: 12/21/14 KAS                                                       10.88

                                                                       CURRENT EXPENSES                  $86.86




 ARCHER & GREINER P.C.                               TIN #XX-XXXXXXX                             www.archerlaw.com

                                  COMPOSITE EXHIBIT "A"
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                                         ARCHER & GREINER
                                      A PROFESSIONAL CORPORATION
                                         COUNSELLORS AT LAW
                                       ONE CENTENNIAL SQUARE
                                  HADDONFIELD, NEW JERSEY 08033-0968
                                            (856-795-2121)


   AADYN TECHNOLOGY                                                           Invoice Number:          4002228
   ATTN: FRANK GALLAGHER                                                      Invoice Date:            02/20/15
   80 RT. 4 EAST, STE. 120
   PARAMUS, NJ 07652                                                          Matter Number: GAL146.00801



   GALLAGHER, FRANK                                                                                      R. J. Contant


   Re:     DISPUTE WITH PHIL CONTURSI, PRODUCT PRODUCTIONS INC. & PROFESSIONAL LED
           LIGHTING CO.

   FOR PROFESSIONAL SERVICES RENDERED THROUGH 01/31/2015:

         Date            Tkpr                                                             Hours               Value
     01"/05/15           DMN    Emails with local counsel re: Contursi request "fer             0.20              59.00
                                additional time to respond




     01/14/15            KS     Conferred with Darth Newman re: reply brief research.           0.20               44.00
     01114/15            DMN     Confer with K. Sozio re: research for reply and emails         0.40              11'8.00
                                 with local counsel re: deadlines for same; email
                                       _______
                                .. · - -... - - - } t o
                                                      . clients
     01/14/15            DMN    Review/analyze opposition to motion to dismiss FL               0.40              118.00
                                complaint
     01/15/15            KS     Reviewed Defendant/Counterclaimants' brief in                   3.30              726.00
                                opposition to Aayden's motion to dismiss and response
                                to the Court's order to show cause; researched
                                diversity j~risdiction in 11th circuit regarding LLCs.




 ARCHER & GREINER P.C.                                TIN #XX-XXXXXXX                                   www.archerlaw.com
                                   COMPOSITE EXHIBIT "A"
    Case 0:14-cv-61376-BB Document 53-1 Entered on FLSD Docket 02/27/2015 Page 10 of 21

    I
I




         GAL 146.00801          GALLAGHER, FRANK                                                   Invoice Number:    4002228
         02/20/15                                                                                                       Page2

              Date              Tkpr                                                                Hours             Value




            01/16/15            DMN    Review/analyze opposition papers and confer with                  1.80           531.00
                                       local counsel and K. Sozio re: same; briefly research
                                       service of process rules for IL




            01/19/15            KS     Reviewed cases cited in Defendants' brief; drafted                5.40          1,188.00
                                       section on intracorporate conspiracy doctrine for
                                       inclusion in reply brief; researched and compiled case
                                       law on defective service under IL law for inclusion in
                                       reply brief.
            01/26/15            KS     Drafted portion of reply brief in further support of              1.80            396.00
                                       motion to dismiss (1 .6); conferred with Darth Newman
                                       on research issues (.2).
            01/26/15            DMN    Confer with K. Sozio re: research for and reply in                0.50            147.50
                                       support of motion to dismiss
            01/27/15            DMN    Confer with FL counsel re: reply briefs and service of            0.90            265.50
                                       process; emails re: same; email to client re:     ~;call
                                       with M. Kaye re:




            01/29/15            DMN    Confer with RJ Contant briefly re: case status; emails            1.30            383.50
                                       with clients and FL counsel; email with IL counsel;
                                       review host of Phil emails from M. Kaye in support ~f
                                       reply in support of motion to dismiss and default;
                                       several calls with M. Kaye re:
            01/29/15             KS    Continued research and drafting of reply brief in further         8.60          1,892.00
                                       support of motion to dismiss and brief in further support
                                       of default judgment. .



        ARCHER & GREINER P.C.                                TIN #XX-XXXXXXX                                    www .archerlaw.com


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  GAL 146.00801          GALLAGHER, FRANK                                                    Invoice Number:   4002228
  02/20/15                                                                                                       Page 3

       Date              Tkpr                                                                 Hours            Value



     01/30/15            DMN    Review/revise reply to motion .to dismiss and confer               2.50           737.50
                                with K. Sozio and client re:       ·Call with RJ Contant

                                                                           ' .
     01/30/15            KS     Conference call with Darth Newman & RJ Contant to                  7.50         1,650.00
                                discuss filings (.2); continued researching and drafting
                                brief in further support of motion to dismiss and brief in
                                support of entry of default judgment (7.3).




     01/31/15            DMN    Research/review/revise reply brief in support of motion            4.50         1,327.50
                                to dismiss and order to show cause




   FOR COSTS ADVANCED AND EXPENSES INCURRED
                    PHOTOCOPYING·- (34 @ $0.20)                                                                      6.80
                    LEXIS- LEXISNEXIS RISK DATA MANAGEMENT INC.:                                                    32.26
                    11/07/14 LAS
                    LEXIS- LEXIS NEXIS: 1/15/15 KS                                                                  10.23
                    LEXIS- LEXIS NEXIS: 1/15/15 KS                                                                  53.69
                    LEXIS- LEXIS NEXIS: 1/19/15 KS                                                                    2.56

                                                                       CURRENT EXPENSES                          $105.54


 ARCHER & GREINER P.C.                                 TIN #XX-XXXXXXX .                                  www.archerlaw.com

                                   COMPOSITE EXHIBIT "A"
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                                                                                                                                                   Page2
                                                                                ARCHER & GREINER
Billing Attorney:    l 307               R. J. Contant                              PREBILL                             Run Date       02/23/15
                                                                                          #16998                                       16:00:06


Client       GAL146                      GALLAGHER, FRANK                                         Last Date Billed February 20, 2015

Matter       GALl46.00801                DISPUTE WITH PHIL CONTURSI,
                                         PRODUCT PRODUCTIONS INC. &
                                         PROFESSIONAL LED LIGHTING CO.


                                                                                                              Hours     Tkpr                                     Running
Time ID           Date                                   Professional Services                               Worked       No Timekeeper Name      Time Value     Balance
9384647-41      02/01/15     Finished researching/drafting brief in support of entry of final judgment and       4.20    1012 K.. Sozio                924.00          924
                             reply brief in support of motion to dismiss (3.9); conferred with Darth
                             Newman on jurisdictional issues and certifications (.3)




9384800-41      02/02/15     Researched service of process rules under Florida law (.5); reviewed and            3.10    1012 K. Sozio                 682.00        2,774
                             edited final reply brief in support of motion to dismiss and final brief in
                             support of motion for final default judgment (2.6).
9384816-41      02/02/15     Review/revise reply briefs and confer with FL counsel re: same; confer with         4.90    0892 D. M. Newman            1,445.50       4,219
                             K. Sozio re: same; emails with client re:    ; draft declarations for same




                                                                       COMPOSITE EXHIBIT "A"
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                                                                                                                                                 Page3
                                                                              ARCHER & qREINER
Billing Attorney:     1307               R. J. Contant                            PREBILL                             Run Date       02/27/15
                                                                                        #16998                                       16:08:57


Client       GAL146                      GALLAGHER, FRANK                                       Last Date Billed February 20, 2015

Matter       GALI46.00801                DISPUTE WITH PHIL CONTURSI,
                                         PRODUCT PRODUCTIONS INC. &
                                         PROFESSIONAL LED LIGHTING CO.


                                                                                                             Hours    Tkpr                                    Running
Time ID             Date                                 Professional Services                              Wor~ed     No Timekeeper Name       Time Value    Balance




9405524-41     02/24/15      Confer with FL counsel re: application for fees and review sample notice for      1.30   0892 D. M. Newman              383.50       7,180
                             same, review bills and time records to calculate applicable fees and review
                             sample notices




                                                                    COMPOSITE EXHIBIT "A"
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                                                                                                                                                          Page4
                                                                              ARCHER & GREINER
Billing Attorney:     1307               R. J. Contant                                PREBILL                         Run Date                02/27/15
                                                                                        #16998                                                16:08:57


Client       GAL146                      GALLAGHER, FRANK                                       Last Date Billed February 20, 2015

Matter       GAL146.00801                DISPUTE WITH PHIL CONTURSI,
                                         PRODUCT PRODUCTIONS INC. &
                                         PROFESSIONAL LED LIGHTING CO.


                                                                                                            Hours     Tkpr                                             Running
TimeiD              Date                                 Professional Services                             Worked      No Timekeeper Name                Time Value    Balance
                                                                                                                       .........   -   - - ... -




9408547-41     02125/15      Prepare affidavit for fee award and review and markup redacted bills for          1.20    0892 D. M. Newman                      354.00       10,310
                             same; emai1s to FL counsel re: same




                           DISBURSEMENTS




                                                                     COMPOSITE EXHIBIT "A"
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                                                                                                                                 PageS
                                                                 ARCHER & GREINER
Billing Attorney:      1307         R. J. Contant                    PREBILL                         Run Date        02/27/15
                                                                         #16998                                      16:08:57


Client       GAL146                 GALLAGHER, FRANK                            Last Date Billed February 20, 2015

Matter       GALI46.00801           DiSPUTE WITH PHIL CONTURSI,
                                    PRODUCT PRODUCTIONS INC. &
                                    PROFESSIONAL LED LIGHTING CO.




3736959     02/26/15      352010   80       0892    VENDOR: LEXIS NEXIS; INVOICE#: CLIENT·                                      12.41
                                                    FEB15; DATE: 01/31115 DMN
3736960     02/26/15      352010   80       0892    VENDOR: LEXIS NEXIS; INVOICE#: CLIENT·                                       2.12
                                                    FEB15; DATE: 02/02/15 DMN
3736961     02/26/15      352010   80       0892    VENDOR: LEXIS NEXIS; INVOICE#: CLIENT-                                       2.13
                                                    FEB15; DATE: 02/21115 DMN
3736962     02/26/15      352010   80       1012    VENDOR: LEXIS NEXIS; INVOICE#: CLIENT·                                      35.28
                                                    FEB15; DATE: 01/28/15 KAS
3736963     02/26/15      352010   80       1012    VENDOR: LEXIS NEXIS; INVOICE#: CLIENT-                                      16.46
                                                    FEB15; DATE: 01/29/15 KAS
3736964     02/26/15      352010   80       1012    VENDOR: LEXIS NEXIS; INVOICE#: CLIENT·                                      22.24
                                                    FEB15; DATE: 02/01/15 KAS
3736965     02/26/15      352010   80       1012    VENDOR: LEXIS NEXIS; INVOICE#: CLIENT-                                      16.16
                                                    FEB15; DATE: 02/02/15 KAS
3736966     02/26/15      352010   80       1012    VENDOR: LEXIS NEXIS; INVOICE#: CLIENT-                                      17:44
                                                    FEB15; DATE: 02/20/15 KAS




                                                         COMPOSITE EXHIBIT "A"
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                                                                                                                                 Page6
                                                               ARCHER & GREINER
Billing Attorney:   1307          R. J. Contant                      PREBILL                       Run Date        02/27/15
                                                                         #16998                                    16:08:57


Client       GAL146               GALLAGHER, FRANK                            Last Date Billed February 20, 2015

Matter       GAL146.00801         DISPUTE WITH PHIL CONTURSI,
                                  PRODUCT PRODUCTIONS INC; &
                                  PROFESSIONAL LED LIGHTING CO.


Dish ID     Date      Check #   Code   Timekeeper   Disbursements                                    Task                     Amount
                                                      Type Total LEXIS                                                                   124.24




                                                        COMPOSITE EXHIBIT "A"
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                               UNITED STATE DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 0:14-cv-61376-BB

    PROFESSIONAL LED LIGHTING, LTD.,

                Plaintiff,

    vs.

    AADYN TECHNOLOGY, LLC,
    FRANK GALLAGHER, MARC KAYE,
    and WALTER LEFLER,

             Defendants.
    _____________________________!
    AADYN TECHNOLOGY, LLC, a Delaware
    Limited Liability Company; FRANK
    GALLAGHER, a New Jersey citizen; MARC
    KAYE, a Florida citizen; and WALTER
    LEFLER, a New Jersey citizen,

                Plaintiffs,

    vs.

    PROFESSIONAL LED LIGHTING, LTD., an
    Illinois company; PRODUCT
    PRODUCTIONS, INC., an Illinois company;
    and PHILIP CONTURSI, an Illinois citizen,


                Defendants.
    ----------------------------~/
                               AFFIDAVIT OF ROBIN I. FRANK

    STATE OF FLORIDA    )
                        ) ss:
    COUNTY OF PALM BEACH)

          BEFORE ME, the undersigned authority, on this date personally appeared ROBIN


                                        Page 1 of 3

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    I. FRANK, who, after first being duly sworn deposes and says:

           1.    I am a lawyer licensed to practice law in the State of Florida.

           2.    I am a partner in the Boca Raton law firm of Shapiro, Blasi & Wasserman,

    P.A. My practice is predominantly devoted to federal court litigation matters, representing

    both plaintiffs and defendants, in including commercial and business litigation matters, as

    well as labor and employment law matters.

           3.    I have been licensed to practice law in the State of Florida since 2003. I am

    admitted to practice law in the United States Court of Appeals, Eleventh Circuit, and the

    United States District Court, Southern and Middle Districts of Florida.

           4.    I received my B.A. degree summa cum laude in 2000 from Florida Atlantic

    University, and my J.D. magna cum laude in 2003 from the University of Miami School of

    Law.

           5.     I have been practicing commercial and business litigation, as well as labor

    and employment law since 2003.

           6.    I am a member in good standing of the Florida Bar and Federal Bar and have

    been recognized as a "top up-and comer" and "rising star" in the South Florida Legal Guide

    and Florida Super Lawyer's Magazine.

           7.    Attached hereto is a ledger of the fees in this matter, highlighted to show

    those fees reasonably and necessarily incurred on behalf of Plaintiffs/Counterclaim

    Defendants in connection with their Motion to Dismiss Defendants/Counterclaim Plaintiffs'

    Complaint. My time is designated by reference to the timekeeper "RIF" notation.

           8.    My normal and customary hourly rate is $325.00 per hour. Additionally, I


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                             COMPOSITE EXHIBIT "A"
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    believe this hourly rate is appropriately awarded after fee hearings in this district to

    attorneys with similar levels of expertise and experience.

           9.     Time records were kept in this matter meticulously by me. Upon rendition of

    a particular service, I entered my time directly into the computer billing program. The

    program keeps track of this information and generates monthly reports, which are then

    transformed into billing statements. I then double check the information on the billing

    statements prior to the statement being sent to the client as the final billing statement.

           10.    Attached to this Affidavit is a recap of all time entries. The total amount of

    fees incurred with regard to the Motion to Dismiss ($3,51 0.00) and with regard to this fee

    application ($1 ,300.00) were reasonably incurred in this matter, as reflected by the

    attached recap.

           Further Affiant Sayeth Naught.


                                                                            ROBIN I. FRANK

           SWORN TO AND SUBSCRIBED before me on February 27, 2015, by Robin I.



                                                         ~ !J~./J
    Frank who is personally known to me.


                                                 NOTARY PUBLIC
                                                 STATE OF FLORIDA

                                                 ~.a.v PuB<.            USA WOOD
                                             ~ MY COMMISSION t FF 1118545
    MY COMMISSION EXPIRES:
                                             *                 * EXPIRES: March 25, 2019
                                             ~~'~ .      -~"r Bonded l'hru Budget Notary SeMces
                                                  ~"cOFfi.V'




                                            Page 3 of 3

                              COMPOSITE EXHIBIT "A"
                                                               ~napito, t:;lasi, wasserman & Gora, P.A.
        Case 0:14-cv-61376-BB Document 53-1 Entered on FLSD Docket 02/27/2015 Page 20 of 21
                               Trans        Tcodef                        Hours
            Client              Date   Tmkr Task Code        Rate         to Bill          Amount
Client 10 5284.004 Aadyn Technology
        5284.004     1212312014    RIF                    325.00            5.00          1,625.00 Revise motion to dismiss and incorporated memorandum of law;
                                                                                                   E-malls and telephone cans with opposing counsel on same; Legal
                                                                                                   research in suooort: of motion




        5284.004      01/13/2015        RIF               325.00            0.50            162.50 Receipt and review of Professional LED's response to rnobon to
                                                                                                   dismiss



        5284.004      01116/2015        RIF               325.00            0.30             97.50 Telephone call with D. Newman regarding strategy aM analysis for
                                                                                                   reply brief to motion to dismiss and response to Defendants'
                                                                                                   response to order to show cause




        5284.004      02/02/2015        RlF               325.00           4.00           1,300.00 Review and revise reply memos to motion to dismiss and to order to
                                                                                                   show cause; E-mails and telephone call with opposfng counsel on
                                                                                                   same: FinaHze declaration of N. Lewis in support of same




        5284.004      02/18/2015       RIF                325.00            1.00            325.00 Receipt and revlew of order on motion for default final judgment and
                                                                                                   motion to dlsmiss: Telephone call with D. Newman on same; E·mail
                                                                                                    to John Martin on sarne



Total for Client ID 5284.004                                                                        Aadyn Technology
                                                                                                    v. Professional lED Lighting, Ltd.



                                                          Billable




                                                        COMPOSITE EXHIBIT "A"
                                                                  TQtal Hollrs; 10.8
                                                                                                                                                Thursday 02/26/2015 9:45 <11
                                                                Total Fees: $3,510.00
Date: 02/27/2015                       Detail Fee Transaction File List                                                                                      Page: 1
          Case 0:14-cv-61376-BB Document 53-1Blasi,
                                       Shapiro,  Entered
                                                    Wassermanon  FLSD
                                                              & Gora, P.A. Docket 02/27/2015 Page 21 of 21

                               Trans                        Hours
               Client           Date   Tmkr      Rate       to Bill    Amount
Client ID 5284.004 Aadyn Technology
           5284.004     02/26/2015     RIF    325.00         2.00      650.00 Preparation of affidavit of fees; E-mails with D. Newman on same; Review D.
                                                                              Newman's affidavit and billing records; E-mails with fee witness regarding
                                                                              affidavit as to reasonableness of fees
           5284.004      02/27/2015    RIF    325.00         2.00      650.00 Additional preparation of affidavit for fees; E-mails and telephone calls with D.
                                                                              Newman and E. Leibovitch regarding fees; Revise and finalize notice for fees
                                                                              and costs

Total for Client ID 5284.004                  Billable                1,300.00 Aadyn Technology
                                                                               v. Professional LED Lighting, Ltd.



                                              Billable       4.00




                                                         COMPOSITE EXHIBIT "A"
